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Case 2:04-cv-09049-DOC-RNB Document 4374-6 Filed 10/20/08 Page 4 of 112 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-6 Filed 10/20/08 Page 6 of 112 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-6 Filed 10/20/08 Page 7 of 112 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-6 Filed 10/20/08 Page 8 of 112 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-6 Filed 10/20/08 Page 9 of 112 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-6 Filed 10/20/08 Page 13 of 112 Page ID
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